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                         11
                         12                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         13
                                                                   IN AND FOR THE COUNTY OF LOS ANGELES
                         14
                         15
                                  DESERE PATTERSON, an individual;                                                    COMPLAINT FOR DAMAGES
                         16
                                                         Plaintiff,                                                        (1) SEXUAL HARASSMENT
                         17                                                                                                    (GOV. CODE §12940(j))
                                             v.                                                                            (2) RETALIATION (GOV. CODE
                         18                                                                                                    §12940(h))
                                  PURPLE COMMUNICATIONS, INC., a                                                           (3) FAILURE TO TAKE ALL
                         19       corporation; DOES 1 through 20, inclusive;                                                   STEPS NECESSARY TO STOP
                                                                                                                               HARASSMENT AND
                         20                              Defendants.                                                           RETALIATION (GOV. CODE
                                                                                                                               §12940(j), (k))
                         21                                                                                                (4) SEXUAL HARASSMENT –
                                                                                                                               TITLE VII 42 U.S.C. §2000e et
                         22                                                                                                    seq.

                         23
                                                                                                                      DEMAND FOR JURY TRIAL
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                                                                   COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


                                                                                                                                  GUERRA DECL. EX. 1 - PAGE 3
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   1                                           INTRODUCTION

   2          1.      Plaintiff DESERE PATTERSON (“Plaintiff” or “Mrs. Patterson”) files this

   3   Complaint for Damages for several violations of the Fair Employment and Housing Act, and

   4   Title VII against Defendant PURPLE COMMUNICATIONS, INC., a corporation (“PURPLE”)

   5   and DOES 1 - 20.

   6                                   PARTIES AND JURISDICTION

   7          2.      Plaintiff is an individual and is now, and at all relevant times mentioned in this

   8   complaint, a resident of California.

   9          3.      Plaintiff is informed and believes and thereon alleges that Defendant PURPLE did

  10   – at relevant times herein – and currently does business in Los Angeles County, California. The

  11   facility where PURPLE employed Plaintiff has closed, but PURPLE’s Los Angeles County

  12   facility, located in Long Beach, remains in operation, and some of the harms occurred there.

  13          4.      The true names and capacities of Defendants DOES 1 through 20 are currently

  14   unknown to Plaintiff who therefore sue said defendants by such fictitious names pursuant to

  15   California Code of Civil Procedure § 474. Plaintiff will amend this complaint to state the true

  16   names and capacities of said fictitious defendants when they have been ascertained. Plaintiff is

  17   informed and believes and thereon alleges that Defendants DOES 1 through 20 are in some

  18   manner responsible for the occurrences herein alleged, and that Plaintiffs’ damages as herein

  19   alleged were proximately caused by their conduct.

  20          5.      Plaintiff is informed and believes and based thereon alleges that, at all times

  21   material hereto, each of the Defendants, including the fictitiously named Defendants, were acting

  22   in an individual, corporate, partnership, associate, parent-subsidiary, successor-predecessor,

  23   conspiratorial or other capacity or as the agent, employee, co-conspirator, and/or alter ego if its

  24   co-defendants, and in doing the acts herein alleged, was acting within the course and scope of its

  25   authority as such parent, successor, partner, associate, agent, employee, co-conspirator, or alter

  26   ego, and with the permission, consent, knowledge, authorization, ratification and direction of its

  27   co-defendants, including all fictitiously named defendants.

  28



                           COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                         2
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   1          6.      The jurisdiction of this Court is proper for the relief sought herein, and the amount

   2   demanded by Plaintiff exceeds $25,000.

   3          7.      As a direct and proximate result of the unlawful acts of Defendants, Plaintiff has

   4   suffered and continues to suffer from economic loss, humiliation, emotional pain and suffering,

   5   attorneys’ fees, and other damages in amounts to be proven at trial.

   6                        FACTS COMMON TO ALL CAUSES OF ACTION

   7          8.      Plaintiff was employed by Defendant PURPLE as a Video Relay Interpreter starting

   8   in or about October, 2007, in California. Among Plaintiff’s job duties was interpreting for deaf or

   9   hard-of-hearing individuals from around the United States, through an internet-enabled live video

  10   system.

  11          9.      For example, a deaf caller might communicate with a business that does not have

  12   capacity to receive video calls or utilize signed language(s), with Plaintiff (like other PURPLE

  13   employees) acting as the intermediary / interpreter through a video screen (with the deaf individual)

  14   and telephone line (with the business).

  15          10.     Plaintiff is fluent in American Sign Language. Plaintiff is, and was at all relevant

  16   times herein, certified by The Registry of Interpreters for the Deaf in both interpretation (American

  17   Sign Language) and transliteration (signed code for spoken English). Plaintiff also hears and

  18   speaks English. Plaintiff is not herself deaf or hard-of-hearing.

  19          11.     Plaintiff performed well in her work for Defendants.

  20          12.     PURPLE created a sexually hostile work environment by permitting one or more

  21   male customers of PURPLE to make video calls to Plaintiff, while masturbating, exposing his

  22   genitals, ejaculating on the screen, making sexually lewd comments, and other unlawful behavior.

  23   This hostile work environment affected Plaintiff personally.

  24          13.     PURPLE took inadequate steps to deter or prevent sexually hostile conduct by such

  25   customer(s). PURPLE took inadequate steps to remove such customer(s) from its platform once it

  26   became aware of sexually hostile conduct by such customer(s).

  27          14.     Starting in or about April 2013, a male PURPLE customer, Dwayne St. Germaine,

  28   regularly made video calls through the PURPLE video relay software on which Plaintiff was acting



                           COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                        3
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   1   as sign-language interpreter, seeking out Plaintiff. Mr. St. Germaine masturbated, exposed his

   2   genitals, and ejaculated on the video camera, and made sexually lewd comments to and in front of

   3   Plaintiff on these video calls.

   4          15.     On information and belief, Mr. St. Germaine changed his name to Douglas

   5   Whitebird in or about May 2016. For clarity, Plaintiff refers to him as “Mr. St. Germaine”

   6   throughout this Complaint.

   7          16.     In or about April 2013, Plaintiff reported Mr. St. Germaine’s unlawful, harassing,

   8   and criminal conduct to PURPLE management and/or supervisors. To Plaintiff’s knowledge,

   9   PURPLE took no or inadequate action to prevent Mr. St. Germaine’s lewd and sexually hostile

  10   behavior even after Plaintiff complained in April 2013, though it had the ability to do so.

  11          17.     Plaintiff is informed and believes that Mr. St. Germaine was in jail and/or prison

  12   due to a separate incident throughout the rest of 2013, 2014, and most of 2015.

  13          18.     On or about December 31, 2015, PURPLE customer Mr. St. Germaine again

  14   masturbated, exposed his genitals made sexually lewd comments, and/or ejaculated to and in front

  15   of Plaintiff, through the PURPLE video relay software.

  16          19.     From December 31, 2015 through January 2019, Mr. St. Germaine repeatedly and

  17   regularly exposed his genitals, masturbated and/or ejaculated on the video screen with Plaintiff as

  18   his unwilling audience. Plaintiff was required to watch the screen from her station in PURPLE’s

  19   office using PURPLE’s software. Mr. St. Germaine often contacted Plaintiff several times in one

  20   night, each time exposing his penis to her and/or masturbating in front of her. These incidents

  21   occurred regularly during Plaintiff’s employment between December 2015 and January 2019.

  22          20.     Plaintiff repeatedly complained to PURPLE management and/or supervisors about

  23   Mr. St. Germaine’s sexually harassing conduct throughout 2016, 2017, 2018, and the end of her

  24   employment in 2019.

  25          21.     Due to PURPLE’s failure to end Mr. St. Germaine’s lewd behavior, Plaintiff took a

  26   stress leave of absence from approximately September to November, 2016. As a result of not

  27   working, Plaintiff lost income and benefits.

  28          ///



                           COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                        4
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   1          22.     PURPLE took ineffective steps to prevent the customer’s lewd and sexually hostile

   2   behavior after each of Plaintiff’s complaints. PURPLE did not stop or attempt to stop Mr. St.

   3   Germaine’s behavior, access to PURPLE’s services, or access to Plaintiff. PURPLE also gave

   4   Plaintiff inadequate tools to protect herself from Mr. St. Germaine’s harassment and assaults.

   5          23.     Instead, PURPLE removed the “Deny” button on incoming calls in or about August

   6   2017. The Deny button would have allowed Plaintiff to block Mr. St. Germaine manually.

   7   PURPLE also instructed Plaintiff not to deny Mr. St. Germaine’s harassing calls. In so doing,

   8   PURPLE ratified and approved of Mr. St. Germaine’s harassment of Plaintiff and unnecessarily

   9   forced Plaintiff to continue enduring the harassment.

  10          24.     PURPLE also inadequately monitored Plaintiff’s reports made through the

  11   PURPLE software. The “Report” form in the PURPLE software was used by Plaintiff to report

  12   abusive behavior to PURPLE management. However, PURPLE management did not regularly

  13   monitor the filings or read the reports that Plaintiff sent about Mr. St. Germaine’s harassment.

  14          25.     Plaintiff expressed to PURPLE that she wanted to report Mr. St. Germaine to the

  15   police. PURPLE discouraged Plaintiff’s report of Mr. St. Germaine’s criminal activity and refused

  16   to assist Plaintiff. Further, PURPLE informed Plaintiff that, if she chose to file a police report, she

  17   was required to give PURPLE a copy of the police report. The police informed Plaintiff that, if

  18   she provided PURPLE with a copy of the police report, she would no longer remain anonymous in

  19   the criminal proceeding. PURPLE’s conduct caused Plaintiff to delay in filing a police report and

  20   contributed to Mr. St. Germaine’s continued harassment of Plaintiff.

  21          26.     Plaintiff began to suffer severe emotional distress due to PURPLE’s ratification of

  22   Mr. St. Germaine’s harassment. She ultimately filed a police report           Mr. St. Germaine was

  23   arrested, charged, and pled guilty or “no contest” to crimes related to his conduct toward Plaintiff.

  24          27.     PURPLE purports to have policies to prevent, deter, and disactivate callers who

  25   engage in “abusive” or “unlawful” behavior. In reality, PURPLE did not follow its own policies

  26   to stop Mr. St. Germaine’s unlawful harassment of Plaintiff. PURPLE delayed banning Mr. St.

  27   Germaine from the PURPLE platform despite his repeated violations of law and PURPLE’s

  28   policies. On the instance or instances when PURPLE did take corrective measures to stop Mr. St.



                           COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                          5
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   1   Germaine’s lewd conduct toward Plaintiff, the measures were half-hearted and mostly ineffective.

   2          28.     In addition, PURPLE retaliated against Plaintiff by issuing her disciplinary action

   3   notices (“DANs”) due to her complaints and her distress at being harassed.

   4          29.     When PURPLE closed its Corona, California facility in August 2019, it did not offer

   5   Plaintiff employment for comparable work at its Riverside or Long Beach facilities, leaving

   6   Plaintiff unemployed.

   7          30.     Plaintiff timely received a right to sue letter from the California Department of Fair

   8   Employment and Housing (“DFEH”), thereby exhausting her administrative remedies under

   9   California law. Plaintiff concurrently filed a complaint with the Equal Employment Opportunity

  10   Commission (“EEOC”). Following an investigation by the EEOC Plaintiff received a right to sue

  11   letter, thereby exhausting her administrative remedies under Federal law. Plaintiff filed an

  12   additional DFEH complaint on December 22, 2021 and received an immediate right to sue letter.

  13          31.     PURPLE’s hostile work environment caused severe emotional distress. Plaintiff

  14   felt ashamed, confused, and lost, and upset as a result. Plaintiff experienced anxiety, sleeplessness,

  15   and other symptoms and dreaded going to work. Plaintiff also lost income and benefits as a result

  16   of Defendants’ actions and failures to act.

  17                                     FIRST CAUSE OF ACTION

  18                            HARASSMENT IN VIOLATION OF FEHA

  19                             (California Government Code §12940, et seq.)

  20                         (Brought by Plaintiff against PURPLE and DOES 1-20)

  21          32.     Plaintiff restates and incorporates by reference each and every allegation

  22   contained in the foregoing paragraphs as though fully set forth herein.

  23          33.     At all applicable times mentioned in this complaint, the California Fair

  24   Employment and Housing Act (“FEHA”), Government Code § 12900 et seq., was in full force

  25   and effect and binding upon Defendants, which regularly employs more than five individuals.

  26          34.     California Government Code § 12940(j) deems it an unlawful employment

  27   practice to fail to take immediate protective action to stop harassment of any employee based on

  28   sex. Plaintiff was subjected to sexually harassing conduct because she is a woman.



                           COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                         6
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   1          35.     The sexual harassment Plaintiff suffered while working at PURPLE was severe

   2   and/or pervasive and created an intimidating, hostile and offensive work environment and was

   3   unwanted, unwelcome, and uninvited, and violated California Government Code §12940, et seq.

   4   A reasonable woman in Plaintiff’s circumstances would have considered the work environment

   5   to be hostile, intimidating offensive, oppressive, or abusive.

   6          36.     PURPLE knew or should have known of the conduct and failed to take immediate

   7   and appropriate corrective action. Further, PURPLE ratified and condoned the harassment.

   8          37.     Defendant PURPLE and DOES 1 through 20, failed to prevent and/or remedy that

   9   harassment. The harassment against Plaintiff was condoned, permitted, and encouraged by

  10   Defendants PURPLE and DOES 1 through 20, and each of them, in a manner which was grossly

  11   negligent, willful, malicious and deliberately indifferent to the Plaintiffs’ personal rights to a safe

  12   work environment free of discrimination, harassment, and retaliation in the workplace. Defendant

  13   PURPLE and DOES 1 through 20 failed to prevent harassment from occurring in the workplace,

  14   and once it occurred, failed to remedy it.

  15          38.     As an actual and legal, direct, and foreseeable result of Defendants' conduct,

  16   Plaintiff has suffered and will suffer harm for which she is entitled to general and special damages

  17   and economic and non-economic damages, in an amount according to proof and exceeding the

  18   jurisdictional limits of this Court. Defendants' conduct was a substantial factor in causing that

  19   harm. In addition, Defendants, and each of them, are responsible for interest, penalties, costs, and

  20   attorney fees related to this cause of action.

  21          39.     Plaintiff alleges that the Defendants, and each of them, individually and/or by the

  22   acts of their managing agents, officers and/or directors in the aforementioned acts and/or ratifying

  23   such acts, engaged in willful, malicious, intentional, oppressive and despicable conduct, and

  24   acted with willful and conscious disregard of the rights, welfare and safety of Plaintiff, thereby

  25   justifying the award of punitive and exemplary damages, against Defendants in an amount to be

  26   determined at trial.

  27          WHEREFORE, Plaintiff requests relief as hereafter provided.

  28



                              COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                       7
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   1                                     SECOND CAUSE OF ACTION

   2                             RETALIATION IN VIOLATION OF FEHA

   3                              (California Government Code §12940, et seq.)

   4                         (Brought by Plaintiff Against PURPLE and DOES 1-20)

   5           40.     Plaintiff restates and incorporates by reference each and every allegation

   6   contained in the foregoing paragraphs as though fully set forth herein.

   7           41.     Defendants are entities and/or employers governed by the Fair Employment and

   8   Housing Act, Government Code section 12900 et seq., including section 12940. At all relevant

   9   times, Defendants employed Plaintiff.

  10           42.     During her employment with Defendants, Plaintiff engaged in protected activity

  11   on multiple occasions. Her protected activity included but was not limited to: complaining of and

  12   reporting sexual harassment to PURPLE, reporting sexual harassment/assault to the police, and

  13   showing and/or manifesting distress in reaction to and protest of sexual harassment.

  14           43.     After Plaintiff engaged in protected activities, she was subjected to adverse

  15   employment actions including but not limited to: issuance of unwarranted disciplinary DANs,

  16   further toleration and ratification of sexual harassment, belittling of Plaintiff’s complaints of

  17   harassment, discouragement from filing a police report, removal of the Deny button so that

  18   Plaintiff could not disconnect the harasser, blatant disregard of Plaintiff’s complaints, and refusal

  19   to offer Plaintiff a position at a nearby facility resulting in her termination.

  20           44.     As an actual and legal, direct, and foreseeable result of Defendants' conduct,

  21   Plaintiff has suffered and will suffer harm for which she is entitled to general and special damages

  22   and economic and non-economic damages, in an amount according to proof and exceeding the

  23   jurisdictional limits of this Court. Defendants' conduct was a substantial factor in causing that

  24   harm. In addition, Defendants, and each of them, are responsible for interest, penalties, costs, and

  25   attorney fees related to this cause of action.

  26           45.     Plaintiff alleges that the Defendants, and each of them, individually and/or by the

  27   acts of their managing agents, officers and/or directors in the aforementioned acts and/or ratifying

  28   such acts, engaged in willful, malicious, intentional, oppressive and despicable conduct, and



                            COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                          8
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    1   acted with willful and conscious disregard of the rights, welfare and safety of Plaintiff, thereby

    2   justifying the award of punitive and exemplary damages, against Defendants in an amount to be

    3   determined at trial.

    4          46.     WHEREFORE, Plaintiff requests relief as hereafter provided.

    5                                       THIRD CAUSE OF ACTION

    6       FAILURE TO TAKE ALL STEPS NECESSARY TO STOP HARASSMENT AND

    7                              RETALIATION IN VIOLATION OF FEHA

    8                              (California Government Code §12940, et seq.)

    9                          (Brought by Plaintiff Against PURPLE and DOES 1-20)

   10          47.     Plaintiff restates and incorporates by reference each and every allegation

   11   contained in the foregoing paragraphs as though fully set forth herein.

   12          48.     At all applicable times mentioned in this complaint, the California Fair

   13   Employment and Housing Act (“FEHA”), Government Code § 12900 et seq., was in full force

   14   and effect and binding upon Defendants PURPLE and DOES 1-20.

   15          49.     California Government Code §12940(k) makes it an unlawful employment

   16   practice for an employer to “fail to take all reasonable steps necessary to prevent discrimination

   17   and harassment from occurring.” In violation of California Government Code §12940(k),

   18   Defendants failed to take all reasonable steps necessary to prevent discrimination and harassment

   19   from occurring against Plaintiff.

   20          50.     At all relevant time periods there existed within Defendants a pattern and practice

   21   of conduct by customers and managers which resulted in discrimination and/or harassment,

   22   including, but not limited to, severe and pervasive harassment directed at Plaintiff. At all

   23   relevant time periods, Defendants failed to make an adequate response and investigation into the

   24   conduct of its customers and management, as well as the aforesaid discriminatory pattern and

   25   practices, and thereby established a policy, custom, practice or usage within Defendants which

   26   condoned, encouraged, tolerated, sanctioned, ratified, approved of, and/or acquiesced in this

   27   discrimination and harassment. Defendants therefore did not take immediate and appropriate

   28   corrective action as required by law.



                               COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                     9
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    1           51.     The response of Defendants and their agents and employees to that knowledge was

    2   so inadequate as to establish deliberate indifference to, or tacit authorization of, the alleged

    3   offensive practices, and an affirmative causal link existed between Defendants' inaction and the

    4   injuries suffered by Plaintiff.

    5           52.     During all relevant time periods, Defendants failed to provide adequate training,

    6   education, and information to its staff and most particularly to its supervisory personnel with

    7   regard to policies and procedures regarding discrimination and harassment.

    8           53.     Defendants knew or reasonably should have known that the failure to provide or

    9   adequate education, training, and information as to Defendants’ personnel policies and practices

   10   regarding discrimination and harassment, would result in discrimination, harassment and/or

   11   retaliation directed at employees, including but not necessarily limited to the Plaintiff.

   12           54.     By the acts or failures to act of policy-making personnel within the organization of

   13   Defendants, Defendants were deliberately indifferent to the need to provide any or adequate

   14   training, education, and information to its supervisors and other personnel with regard to policies

   15   and procedures regarding discrimination and harassment.

   16           55.     The failure of Defendants to provide any or adequate education, training, and

   17   information to personnel concerning policies and practices regarding discrimination and

   18   harassment constituted deliberate indifference to the rights of employees, including but not

   19   limited to those of the Plaintiff, under California Government Code § 12940 (a), (h), (j), and (k).

   20           56.     Due to Defendants’ misconduct, Defendants through their agents/employees,

   21   discriminated against and/or harassed Plaintiff because of her sex in violation of California

   22   Government Code §12940(j) as described herein.

   23           57.     As an actual and legal, direct, and foreseeable result of Defendants' conduct,

   24   Plaintiff has suffered and will suffer harm for which she is entitled to general and special damages

   25   and economic and non-economic damages, in an amount according to proof and exceeding the

   26   jurisdictional limits of this Court. Defendants' conduct was a substantial factor in causing that

   27   harm. In addition, Defendants, and each of them, are responsible for interest, penalties, costs, and

   28   attorney fees related to this cause of action.



                             COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                       10
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    1          58.     Plaintiff alleges that the Defendants, and each of them, individually and/or by the

    2   acts of their managing agents, officers and/or directors in the aforementioned acts and/or ratifying

    3   such acts, engaged in willful, malicious, intentional, oppressive and despicable conduct, and

    4   acted with willful and conscious disregard of the rights, welfare and safety of Plaintiff, thereby

    5   justifying the award of punitive and exemplary damages, against Defendants in an amount to be

    6   determined at trial.

    7          WHEREFORE, Plaintiff requests relief as hereafter provided.

    8                                     FOURTH CAUSE OF ACTION

    9                      SEXUAL HARASSMENT IN VIOLATION OF TITLE VII

   10                                 (Title VII, 42 U.S.C. §§2000e, et. seq.)

   11                          (Brought by Plaintiff Against PURPLE and DOES 1-20)

   12          59.     Plaintiff restates and incorporates by reference each and every allegation contained

   13   in the foregoing paragraphs as though fully set forth herein.

   14          60.     At all times mentioned in this complaint, 42 U.S.C. section 2000e was in full force

   15   and effect and was binding on PURPLE. Title VII prohibits Defendants from discriminating

   16   against any employee on the basis of sex. Sexual harassment is a form of unlawful sex-based

   17   discrimination under Title VII.

   18          61.     In perpetrating the above-described acts and omissions, Defendants, their agents,

   19   servants, and/or employees, engaged in unlawful sexual harassment in violation of Title VII.

   20          62.     Defendants, their agents, and employees forced Plaintiff to endure targeted and

   21   pervasive sexual harassment so severe that it constituted criminal assault. Defendants ratified and

   22   approved of the harassment, denied Plaintiff the tools necessary to protect herself form the harasser,

   23   and encouraged targeted harassment against Plaintiff because of her sex. The unwelcome sexual

   24   harassment was humiliating and degrading. The above-mentioned unwelcomed acts were severe

   25   or pervasive and created a hostile work environment for Plaintiff.

   26          63.     Plaintiff perceived the working environment to be abusive or hostile, which caused

   27   Plaintiff sufficient stress and anxiety that she was forced to take a medical disability leave due to

   28   the stress caused by PURPLE’s ratification of the harassment.



                               COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL                     11
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    1           64.     Defendants knew or should have known of the harassing conduct and failed to take

    2   prompt and effective corrective or remedial action. Defendants are therefore liable for creating

    3   and permitting a hostile work environment, which constituted unlawful harassment on account of

    4   Plaintiff’s sex in violation of Title VII.

    5           65.     As an actual and legal, direct, and foreseeable result of Defendants' conduct,

    6   Plaintiff has suffered and will suffer harm for which she is entitled to general and special damages

    7   and economic and non-economic damages, in an amount according to proof and exceeding the

    8   jurisdictional limits of this Court. Defendants' conduct was a substantial factor in causing that

    9   harm. In addition, Defendants, and each of them, are responsible for interest, penalties, costs, and

   10   attorney fees related to this cause of action.

   11           66.     Plaintiff alleges that the Defendants, and each of them, individually and/or by the

   12   acts of their managing agents, officers and/or directors in the aforementioned acts and/or ratifying

   13   such acts, engaged in willful, malicious, intentional, oppressive and despicable conduct, and

   14   acted with willful and conscious disregard of the rights, welfare and safety of Plaintiff, thereby

   15   justifying the award of punitive and exemplary damages, against Defendants in an amount to be

   16   determined at trial.

   17           WHEREFORE, Plaintiff requests relief as hereafter provided.

   18

   19                                         PRAYER FOR RELIEF

   20           WHEREFORE, Plaintiff respectfully requests the following relief:

   21           A.      For general, mental, and emotional distress damages to compensate Plaintiff for

   22   her past, present, and future emotional distress, pain and suffering, and loss of pleasure and

   23   enjoyment of life;

   24           B.      For economic, liquidated, general, and compensatory damages, including but not

   25   limited to lost wages, employment benefits, and special damages according to proof;

   26           C.      For all applicable injunctive relief as allowed by law;

   27           D.      For reinstatement and back pay;

   28           E.      For an award of interest, including prejudgment interest, at the legal rate;



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